         Case 1:21-cv-00221-CC Document 25 Filed 06/09/21 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GLENFORD KENNARD HYATT,                  :
                                         :
                   Plaintiff,            :          CIVIL ACTION NO.
                                         :
vs.                                      :          1:21-CV-0221-CC-RGV
                                         :
M&T BANK, et al.,                        :
                                         :
                   Defendants.           :

                                      ORDER

      This matter is before the Court on the Final Report and Recommendation

(the “R&R”) [Doc. No. 23] issued by Magistrate Judge Russell G. Vineyard on May

21, 2021. Magistrate Judge Vineyard recommends that pro se Plaintiff Glenford

Kennard Hyatt’s motion for summary judgment [Doc. No. 13] be denied, that

Defendants M&T Bank and Lakeview Loan Services, LLC’s Motion to Dismiss

Amended Complaint with Prejudice [Doc. No. 10] be granted, and that this action

be dismissed. The record reflects that no objections to the R&R have been filed

and that the time period permitted for filing any such objections has elapsed.

      Having reviewed the R&R for plain error in accordance with United States

v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983), the Court finds that the R&R is correct

both in fact and in law. Accordingly, the Court ADOPTS the R&R [Doc. No. 23]

as the decision of this Court. The Court DENIES pro se Plaintiff Hyatt’s motion
        Case 1:21-cv-00221-CC Document 25 Filed 06/09/21 Page 2 of 2




for summary judgment [Doc. No. 13] and GRANTS Defendants M&T Bank and

Lakeview Loan Services, LLC’s Motion to Dismiss Amended Complaint with

Prejudice [Doc. No. 10]. The above-styled action is hereby DISMISSED.

     SO ORDERED this 9th day of June, 2021.


                             s/ CLARENCE COOPER
                             CLARENCE COOPER
                             SENIOR UNITED STATES DISTRICT JUDGE




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